                                                                                                Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
                                                                           1611-CC00521
 Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 1 of 18 PageID #: 5



                        IN THE MISSOURI CIRCUIT COURT
                      FOR THE ELEVENTH JUDICIAL CIRCUIT
                            COUNTY OF ST. CHARLES

S & A TIRE AND AUTO, INC.                       )
d/b/a/ ELLISVILLE FIRESTONE,                    )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   JURY TRIAL DEMANDED
                                                )
A.U.L. CORP.,                                   )
                                                )
       Serve:                                   )
       National Registered Agents,              )
       Inc.                                     )
       120 South Central Avenue                 )
       Clayton, MO 63105                        )
                                                )
and                                             )
                                                )
JOHN DOES 1-10,                                 )
                                                )
       Defendants.                              )


                         CLASS ACTION JUNK-FAX PETITION

            Plaintiff S & A Tire and Auto, Inc. d/b/a Ellisville Firestone brings this

     junk-fax class action, on behalf of itself and all others similarly situated, against

     Defendants A.U.L. Corp. and John Does 1-10 under the Telephone Consumer

     Protection Act of 1991, as amended by the Junk Fax Prevention Act of 2005, 47

     U.S.C. § 227, and the regulations promulgated thereunder (TCPA).

                       PARTIES, JURISDICTION, AND VENUE

            1.      Plaintiff S & A Tire and Auto, Inc. d/b/a Ellisville Firestone is a

     Missouri corporation with its principal place of business in Ellisville, Missouri.

            2.      Defendant A.U.L. Corp. is a California corporation with its


                                                                                    EXHIBIT 1
                                               1
                                                                                         Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 2 of 18 PageID #: 6



 principal place of business in Napa, California, and is registered with the

 Missouri Secretary of State to transact business in Missouri.

        3.     Defendant A.U.L. Corp.’s website describes as follows what the

 Defendant A.U.L. Corp. does:




 http://www.aulcorp.com/ (last visited June 8, 2016).

        4.     John Does 1-10 are not presently known and will be identified

 through discovery.

        5.     This Court has personal jurisdiction over Defendant A.U.L. Corp.

 under 47 U.S.C. § 227(b)(3), because it sent at least one illegal fax into Missouri,

 it transacts business within this state, it has made contracts within this state, and

 it has committed tortious acts within this state, including conversion of fax

 recipients’ paper, ink, and toner.

        6.     Venue is proper under Missouri Revised Statutes § 508.010.2.

                                         THE FAX

        7.     On April 27, 2016, Defendants used a telephone facsimile machine,

 computer, or other device to send to Plaintiff’s telephone facsimile machine at

 (636) 405-2922 an unsolicited advertisement, a true and accurate copy of which

 is attached as Exhibit 1 (Fax).




                                           2
                                                                                        Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 3 of 18 PageID #: 7



        8.     Pleading in the alternative to the previous paragraph, Plaintiff

 alleges that the Fax was sent on behalf of Defendants.

        9.     Plaintiff received the Fax through Plaintiff’s facsimile machine.

        10.    The Fax lacked an opt-out notice.

        11.    The Fax constitutes material advertising quality or commercial

 availability of any property, goods, or services.

        12.    The Fax advertised the commercial availability of Defendant A.U.L.

 Corp.’s      “Online      Claims”      submission        service    and      states:




        13.    The Fax advertised the quality of Defendant A.U.L. Corp.’s “Online

 Claims” submission service and states:




        14.    Defendants have sent other facsimile transmissions of material

 advertising the quality or commercial availability of property, goods, or services

 to Plaintiff—including another one on April 27, 2016—and on information and

 belief to at least 40 other persons as part of a plan to broadcast fax

 advertisements, of which the Fax is an example, or, alternatively, the Fax was

 sent on behalf of Defendants.

        15.    Defendants approved, authorized and participated in the scheme to

 broadcast fax advertisements by (a) directing a list to be purchased or assembled,

 (b) directing and supervising employees or third parties to send the faxes, (c)




                                           3
                                                                                        Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 4 of 18 PageID #: 8



 creating and approving the fax form to be sent, and (d) determining the number

 and frequency of the facsimile transmissions.

       16.    Defendants had a high degree of involvement in, actual notice of,

 and/or ratified the unlawful fax broadcasting activity and failed to take steps to

 prevent such facsimile transmissions.

       17.    Defendants created, made, and/or ratified the sending of the Fax

 and other similar or identical facsimile advertisements, which Defendants sent to

 Plaintiff and to other members of the “Class” as defined below.

       18.    The    Fax,   and   the    other   similar   or   identical   facsimile

 advertisements, sent by and/or on behalf of Defendants, is part of Defendants’

 work or operations to market Defendants’ products, goods, or services.

       19.    The Fax and the other facsimile advertisements constitute material

 furnished in connection with Defendants’ work or operations.

       20.    The Fax sent to Plaintiff, and the other facsimile advertisements

 sent by Defendants, lacked a notice informing the recipient of the ability and

 means to avoid future unsolicited advertisements.

       21.    Under the TCPA and 47 C.F.R. § 64.1200(a)(3)(iii), the opt-out

 notice required for all facsimile advertisements must meet the following criteria:

       (A)    The notice is clear and conspicuous and on the first page of
              the advertisement;

       (B)    The notice states that the recipient may make a request to
              the sender of the advertisement not to send any future
              advertisements to a telephone facsimile machine or
              machines and that failure to comply, within 30 days, with
              such a request meeting the requirements under paragraph
              (a)(4)(v) of this section is unlawful;



                                          4
                                                                                      Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 5 of 18 PageID #: 9



       (C)    The notice sets forth the requirements for an opt-out request
              under paragraph (a)(4)(v) of this section

       (D)    The notice includes—

              (1)    A domestic contact telephone number and facsimile
                     machine number for the recipient to transmit such a
                     request to the sender; and
              (2)    If neither the required telephone number nor
                     facsimile machine number is a toll-free number, a
                     separate cost-free mechanism including a Web site
                     address or e-mail address, for a recipient to transmit a
                     request pursuant to such notice to the sender of the
                     advertisement. A local telephone number also shall
                     constitute a cost-free mechanism so long as recipients
                     are local and will not incur any long distance or other
                     separate charges for calls made to such number; and

       (E)    The telephone and facsimile numbers and cost-free
              mechanism identified in the notice must permit an
              individual or business to make an opt-out request 24 hours a
              day, 7 days a week.

       22.    Senders of fax ads must include certain information in an opt-out

 notice on the fax, even if the recipient previously agreed to receive fax ads from

 such senders. See 47 C.F.R. § 64.1200(a)(4)(iv).

       23.    Senders of fax ads must fully comply with the opt-out notice

 requirements of 47 C.F.R. § 64.1200(a)(4)(iii).

       24.    The Fax and Defendants’ similar facsimile advertisements lacked a

 notice stating that the recipient may make a request to the sender of the

 advertisement not to send future advertisements to a telephone facsimile

 machine or machines and that failure to comply, within 30 days, with such a

 request meeting 47 C.F.R. § 64.1200(a)(4)(v)’s requirements is unlawful.




                                         5
                                                                                      Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 6 of 18 PageID #: 10



         25.    The transmissions of facsimile advertisements, including the Fax,

  to Plaintiff, lacked a notice that complied with 47 U.S.C. § 227(b)(1)(C) and 47

  C.F.R. § 64.1200(a)(4)(iii).

         26.    On information and belief, Defendants faxed the same or other

  substantially similar facsimile advertisements to the members of the Class in

  Missouri and throughout the United States without first obtaining the recipients’

  prior express invitation or permission.

         27.    There is no reasonable means for Plaintiff or other Class members

  to avoid receiving unlawful faxes while continuing to receive lawful faxes.

         28.    Defendants violated the TCPA by transmitting the Fax to Plaintiff

  and to the Class members without obtaining their prior express invitation or

  permission and by not displaying the proper opt-out notice required by 47 C.F.R.

  § 64.1200(a)(4).

         29.    Defendants knew or should have known that (a) facsimile

  advertisements, including the Fax, were advertisements, (b) Plaintiff and the

  other Class members had not given their prior invitation or permission to receive

  facsimile advertisements, (c) no established business relationship existed with

  Plaintiff and the other Class members, and (d) Defendants’ facsimile

  advertisements did not display a proper opt-out notice.

         30.    Defendants failed to determine correctly the legal restrictions on

  the use of facsimile transmissions and the application of those restrictions to

  facsimile advertisements, including the Fax, both to Plaintiff and the Class.




                                            6
                                                                                      Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 7 of 18 PageID #: 11



        31.    Pleading in the alternative to the allegations that Defendants

  knowingly violated the TCPA, Plaintiff alleges that Defendants did not intend to

  send transmissions of facsimile advertisements, including the Fax, to any person

  where such transmission was not authorized by law or by the recipient, and to

  the extent that any transmissions of facsimile advertisement was sent to any

  person and such transmission was not authorized by law or by the recipient, such

  transmission was made based on either Defendants’ own understanding of the

  law and/or based on the representations of others on which Defendants

  reasonably relied.

        32.    The transmissions of facsimile advertisements, including the Fax,

  to Plaintiff and the Class caused unwanted use and destruction of their property,

  including toner or ink and paper, and caused undesired wear on hardware,

  interfered with the recipients’ exclusive use of their property, occupied the

  recipients’ fax lines, and interfered with their business and/or personal

  communications and privacy interests.




                                          7
                                                                                         Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 8 of 18 PageID #: 12



                         CLASS ACTION ALLEGATIONS

         33.    Plaintiff brings this class action on behalf of the following class of

  persons, hereafter, the “Class”:

         All persons in the United States who on or after four years prior to
         the filing of this action, (1) were sent by or on behalf of Defendants
         a telephone facsimile message of material advertising the
         commercial availability or quality of any property, goods, or
         services, (2) with respect to whom Defendants cannot provide
         evidence of prior express invitation or permission for the sending of
         such faxes, and (3) either (a) with whom Defendants did not have
         an established business relationship, or (b) the fax identified in
         subpart (1) of this definition (i) did not display a clear and
         conspicuous opt-out notice on the first page stating that the
         recipient may make a request to the sender of the advertisement not
         to send any future advertisements to a telephone facsimile machine
         or machines and that failure to comply, within 30 days, with such a
         request meeting the requirements under 47 C.F.R. §
         64.1200(a)(4)(v) is unlawful, (ii) lacked a telephone number for
         sending the opt-out request, or (iii) lacked a facsimile number for
         sending the opt-out request.

         34.    Excluded from the Class are Defendants, their employees, agents,

  and members of the judiciary.

         35.    This case is appropriate as a class action because:

         a.     Numerosity. On information and belief, based in part on review of

         the sophisticated Fax and online research, the Class includes at least 40

         persons and is so numerous that joinder of all members is impracticable.

         b.     Commonality.      Questions of fact or law common to the Class

         predominate over questions affecting only individual Class members, e.g.:

         i.     Whether Defendants engaged in a pattern of sending unsolicited fax
                advertisements;
         ii.    Whether the Fax, and other faxes transmitted by or on behalf of
                Defendants, contains material advertising the commercial
                availability of any property, goods or services;



                                           8
                                                                                         Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 9 of 18 PageID #: 13



        iii.    Whether the Fax, and other faxes transmitted by or on behalf of
                Defendants, contains material advertising the quality of any
                property, goods or services;
        iv.     The manner and method Defendants used to compile or obtain the
                list of fax numbers to which Defendants sent the Fax and other
                unsolicited faxed advertisements;
        v.      Whether Defendants faxed advertisements without first obtaining
                the recipients’ prior express invitation or permission;
        vi.     Whether Defendants violated 47 U.S.C. § 227;
        vii.    Whether Defendants willingly or knowingly violated 47 U.S.C. §
                227;
        viii.   Whether Defendants violated 47 C.F.R. § 64.1200;
        ix.     Whether the Fax, and the other fax advertisements sent by or on
                behalf of Defendants, displayed the proper opt-out notice required
                by 47 C.F.R. § 64.1200(a)(4);
        x.      Whether the Court should award statutory damages per TCPA
                violation per fax;
        xi.     Whether the Court should award treble damages per TCPA
                violation per fax; and
        xii.    Whether the Court should enjoin Defendants from sending TCPA-
                violating facsimile advertisements in the future.

        c.      Typicality. Plaintiff’s claim is typical of the other Class members’

        claims, because, on information and belief, the Fax was substantially the

        same as the faxes sent by or on behalf of Defendants to the Class, and

        Plaintiff is making the same claim and seeking the same relief for itself and

        all Class members based on the same statute and regulation.

        d.      Adequacy. Plaintiff will fairly and adequately protect the interests

        of the other Class members. Plaintiff’s counsel are experienced in class

        actions and TCPA claims. Neither Plaintiff nor Plaintiff’s counsel has

        interests adverse or in conflict with the absent Class members.

        e.      Superiority. A class action is the superior method for adjudicating

        this controversy fairly and efficiently. The interest of each individual Class




                                          9
                                                                                      Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 10 of 18 PageID #: 14



        member in controlling the prosecution of separate claims is small and

        individual actions are not economically feasible.

        35.    The TCPA prohibits the “use of any telephone facsimile machine,

  computer or other device to send an unsolicited advertisement to a telephone

  facsimile machine.” 47 U.S.C. § 227(b)(1).

        36.    The TCPA defines “unsolicited advertisement,” as “any material

  advertising the commercial availability or quality of any property, goods, or

  services which is transmitted to any person without that person’s express

  invitation or permission.” 47 U.S.C. § 227(a)(4).

        37.    The TCPA provides:

        Private right of action. A person may, if otherwise permitted by the
        laws or rules of court of a state, bring in an appropriate court of that
        state:

               (A)    An action based on a violation of this subsection or
               the regulations prescribed under this subsection to enjoin
               such violation,

               (B)    An action to recover for actual monetary loss from
               such a violation, or to receive $500 in damages for each such
               violation, whichever is greater, or

               (C)    Both such actions.

  47 U.S.C. § 227(b)(3)(A)-(C).

        38.    The TCPA also provides that the Court, in its discretion, may treble

  the statutory damages if a defendant “willfully or knowingly” violated Section

  227(b) or the regulations prescribed thereunder.

        39.    “A facsimile broadcaster will be liable for violations of [Section

  64.1200(a)(4)]. . . , including the inclusion of opt-out notices on unsolicited


                                           10
                                                                                         Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 11 of 18 PageID #: 15



  advertisements, if it demonstrates a high degree of involvement in, or actual

  notice of, the unlawful activity and fails to take steps to prevent such facsimile

  transmissions.” 47 C.F.R. § 64.1200(a)(4)(vii).

         40.    Because the TCPA is a strict liability statute; Defendants are liable

  to Plaintiff and the Class even if Defendants only acted negligently.

         41.    Defendants’ actions caused damage to Plaintiff and the Class, as

         a.     receiving Defendants’ faxed advertisements caused the recipients to

                lose paper and toner consumed in printing Defendants’ faxes;

         b.     Defendants’ actions interfered with the recipients’ use of the

                recipients’ fax machines and telephone lines;

         c.     Defendants’ faxes cost the recipients time, which was wasted time

                receiving, reviewing, and routing the unlawful faxes, and such time

                otherwise would have been spent on business activities; and

         d.     Defendants’ faxes unlawfully interrupted the recipients’ privacy

                interests in being left alone.

         42.    Defendants intended to cause damage to Plaintiff and the Class, to

  violate their privacy, to interfere with the recipients’ fax machines, or to consume

  the recipients’ valuable time with Defendants’ advertisements; therefore, treble

  damages are warranted under 47 U.S.C. § 227(b)(3).

         43.    Defendants knew or should have known that (a) Plaintiff and the

  other Class members had not given express invitation or permission for

  Defendants or anyone else to fax advertisements about Defendants’ property,

  goods, or services, (b) Defendants did not have an established business



                                            11
                                                                                       Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 12 of 18 PageID #: 16



  relationship with Plaintiff and the other Class members, (c) the Fax and the other

  facsimile advertisements were advertisements, and (d) the Fax and the other

  facsimile advertisements did not display the proper opt-out notice.

         44.    Defendants violated the TCPA by transmitting the Fax to Plaintiff

  and substantially similar facsimile advertisements to the other Class members

  without obtaining their prior express invitation or permission and by not

  displaying the proper opt-out notice required by 47 C.F.R. § 64.1200(a)(4)(iii).

         WHEREFORE, Plaintiff, individually and on behalf of all others similarly

  situated, demands judgment in its favor and against all Defendants, jointly and

  severally, as follows:

         a.     certify this action as a class action and appoint Plaintiff as Class
                representative;
         b.     appoint the undersigned counsel as Class counsel;
         c.     award damages of $500 per TCPA violation per facsimile pursuant
                to 47 U.S.C. § 227(a)(3)(B);
         d.     award treble damages of up to $1,500 per TCPA violation per
                facsimile pursuant to 47 U.S.C. § 227(a)(3);
         e.     enjoin Defendants and their contractors, agents, and employees
                from continuing to send TCPA-violating facsimiles pursuant to 47
                U.S.C. § 227(a)(3)(A);
         f.     award class counsel reasonable attorneys’ fees and all expenses of
                this action and require Defendants to pay the costs and expenses of
                class notice and claim administration;
         g.     award Plaintiff an incentive award based upon its time expended
                on behalf of the Class and other relevant factors;
         h.     award Plaintiff prejudgment interest and costs; and
         i.     grant Plaintiff all other relief deemed just and proper.




                                          12
                                                                                   Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 13 of 18 PageID #: 17




                  DOCUMENT PRESERVATION DEMAND

        Plaintiff demands that Defendants take affirmative steps to preserve all

  records, lists, electronic databases, or other itemization of telephone or fax

  numbers associated with the Defendants and the communication or

  transmittal of advertisements as alleged herein.

  Dated: June 9, 2016

                                           SCHULTZ & ASSOCIATES LLP


                                               By: /s/ Ronald J. Eisenberg
                                                    Ronald J. Eisenberg, #48674
                                                    Robert Schultz, #35329
                                                    640 Cepi Drive, Suite A
                                                    Chesterfield, MO 63005
                                                    636-537-4645
                                                    Fax: 636-537-2599
                                                    reisenberg@sl-lawyers.com
                                                    rschultz@sl-lawyers.com

                                                     Attorneys for Plaintiff




                                          13
                                                                                          Electronically Filed - St Charles Circuit Div - June 09, 2016 - 11:03 AM
                                                            1611-CC00521
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 14 of 18 PageID #: 18




                                                                                  Ex. 1
            Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 15 of 18 PageID #: 19

             IN THE 11TH JUDICIAL CIRCUIT COURT, ST. CHARLES COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 1611-CC00521
 RICHARD KEVIN ZERR
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
  S & A TIRE AND AUTO, INC. D/B/A                                   RONALD JAY EISENBERG
 ELLISVILLE FIRESTONE                                               640 CEPI DRIVE SUITE A
                                                                    CHESTERFIELD, MO 63005
                                                              vs.
 Defendant/Respondent:                                              Court Address:
 A.U.L. CORP.                                                       300 N 2nd STREET
 Nature of Suit:                                                    SAINT CHARLES, MO 63301
 CC Other Miscellaneous Actions                                                                                                       (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: A.U.L. CORP.
                                      Alias:
  NATIONAL REG. AGENTS, INC
  120 SOUTH CENTRAL AVENUE
  CLAYTON, MO 63105

        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                        _________6/10/2016______________________        __________________/S/ Judy Zerr_______________________
                                                      Date                                                        Clerk
     ST. CHARLES COUNTY                Further Information:

                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 16-SMCC-1001                   1 of 1                  Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 16 of 18 PageID #: 20



STATE OF MISSOURI                               )
                                                ) ss.
ST. CHARLES COUNTY, MISSOURI                    )

             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI



            NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES


        Pursuant to Missouri Supreme Court Rule 17, the Circuit Court of St. Charles County,
Missouri (Eleventh Judicial Circuit) has adopted a local rule to encourage voluntary alternative
dispute resolution. The purpose of the rule and the program it establishes is to foster timely,
economical, fair and voluntary settlements of lawsuits without delaying or interfering with a
party’s right to resolve a lawsuit by trial.

         This program applies to all civil actions other than cases in the small claims, probate and
family court divisions of the Circuit Court, and you are hereby notified that it is available to you
in this case.

        The program encourages the voluntary early resolution of disputes through mediation.
Mediation is an informal non-binding alternative dispute resolution process in which a trained
mediator facilitates discussions and negotiations among the parties to help them resolve their
dispute. The mediator is impartial and has no authority to render a decision or impose a
resolution on the parties. During the course of the mediation, the mediator may meet with the
parties together and separately to discuss the dispute, to explore the parties’ interests, and to
stimulate ideas for resolution of the dispute.

        A list of mediators approved by the court and information regarding their qualifications is
kept by the Circuit Clerk’s Office. If all parties to the suit agree to mediation, within ten days
after they have filed the Consent to Mediation Form on the reverse side of this page with the
Clerk of the Court, they shall jointly select from that list a mediator who is willing and available
to serve. If the parties cannot agree upon the mediator to be selected, the Court will make the
selection.

        The full text of the Circuit Court’s local court rules, including Rule 38 Alternative
Dispute Resolution, is available from the Clerk of the Circuit Court or at:
http://www.courts.mo.gov/hosted/circuit11/Documents/LOCAL_COURT_RULES.pdf

        A copy of this Notice is to be provided by the Clerk of the Circuit Court to each of the
parties initiating the suit at the time it is filed, and a copy is to be served on each other party in
the suit with the summons and petition served on that party.
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 17 of 18 PageID #: 21



STATE OF MISSOURI                             )
                                              ) ss.
ST. CHARLES COUNTY, MISSOURI                  )

             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI

___________________________________ )
                        Plaintiff(s), )
                                      )
vs.                                   )                      Cause #_____________________
                                      )
___________________________________ )
                        Defendant(s). )


                             CONSENT TO MEDIATION FORM


         I, the undersigned counsel of record in this case, hereby certify that I have discussed the
subject of mediation under the Court’s Alternative Dispute Resolution Program with my client(s)
in this case and that:

_____ We believe that mediation would be helpful in this case and consent to the referral of the
      case to mediation upon the filing of similar consents by all other parties in the case.

_____ We do not consent to the referral of this case to mediation.


                                                      __________________________________
                                                      Signature

                                                      __________________________________
                                                      (Print Name)

                                                      Attorney for:

                                                      __________________________________
                                                      (Party or Parties)

Date: __________________________
Case: 4:16-cv-01180-DDN Doc. #: 1-1 Filed: 07/19/16 Page: 18 of 18 PageID #: 22
